Case 1:21-cv-01341-BMC Document 21 Filed 05/25/21

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

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GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY, and
GEICO CASUALTY COMPANY,

Plaintiffs,
-against-

VIP PHARMACY CORP., YELENA MOSHEYEVA,
DNA PHARMACY INC., OLEG LIVEYEV and JOHN
DOES “1” THROUGH “5,”

Defendants.

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Docket No.: 1:21-cv-01341 (BMC)

NOTICE OF DISMISSAL WITHOUT PREJUDICE

Pursuant to Fed. R. Civ. P. 41, Plaintiffs, Government Employees Insurance Co., GEICO
Indemnity Co., GEICO General Insurance Company and GEICO Casualty Co. (collectively, the
“Plaintiffs”), hereby dismiss, without prejudice, all claims in this action asserted by Plaintiffs against
Defendants VIP Pharmacy Corp., Yelena Mosheyeva, DNA Pharmacy Inc., and Oleg Liveyev.

Dated: May 25, 2021

RIVKIN RADLER LLP ABRAMS, FENSTERMAN, FENSTERMAN,
EISMAN, FORMATO, FERRARA, WOLF &
CARONE, LLP
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